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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                 Plaintiff,

vs.                                                                          No. CR 11-2990 JB

JUAN RECOBO,

                 Defendant.

                              MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Defendant’s Motion Appealing Detention

Order Pending Trial and to Allow Reasonable Conditions of Release, filed March 22, 2012 (Doc.

40)(“Motion”). The Court held a hearing on March 28, 2012. The primary issues are: (i) whether

the Court should reconsider the Detention Order Pending Trial, filed November 15, 2011 (Doc.

15)(“Detention Order”), issued by the Honorable Alan C. Torgerson, United States Magistrate

Judge, which concludes that Defendant Juan Recobo is a flight risk; (ii) whether Plaintiff United

States of America has proven by clear-and-convincing evidence that Recobo is a danger to the

community; and (iii) whether there are conditions or a combination of conditions which would

reduce the risk of flight and/or the danger to the community to an acceptable level. The Court

reconsiders Judge Torgerson’s Detention Order, but in doing so, concludes that the United States

has proven that Recobo is a flight risk. The Court concludes that the United States has not proved

by clear-and-convincing evidence that Recobo is a danger to the community. The Court will, thus,

affirm Judge Torgerson’s Detention Order and order that Recobo should continue to be detained

pending trial.
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                                  FACTUAL BACKGROUND

       Recobo “was born in Torion, Mexico.” See Pretrial Services Report at 1, disclosed

November 14, 2011 (“Report”). Recobo’s parents are both deceased. See Report at 1. Recobo has

two siblings who reside in Mexico. See Report at 1. Recobo has been married for one year, but is

currently separated from his wife. See Report at 1. Recobo has three children from a prior

marriage. See Report at 1. All three of his children currently reside in Mexico with their mother.

See Report at 1. Recobo informed the United States Pretrial Services (“Pretrial Services”) that he

provides approximately $1,000.00 a month in financial support for his children. See Report at 1.

Recobo related that, before his interview with Pretrial Services, he had been “staying with different

friends at various locations in the Dodge City[, Kansas] area as he and his wife are separated.”

Report at 1. Before their separation, Recobo lived with his wife at an address in Dodge City for

eight months. See Report at 1. Recobo informed Pretrial Services that he does not have a passport

and that he last traveled to Mexico two months before the interview. See Report at 1. Since

obtaining his card indicating his status as a permanent resident alien, Recobo has visited Mexico five

times. See Report at 1. Recobo’s ex-wife confirmed that he provides support for his children. See

Report at 1. Recobo completed his high school education in Mexico and obtained a certificate in

radiology in Mexico in the 1990’s. See Report at 1. Recobo reported that he has worked in

construction for the past nine years, where he earns fifteen dollars per hour. See Report at 1.

Pursuant to instructions he received from his counsel, Recobo declined to discuss his alcohol and

drug use. See Report at 2. Pretrial Services could not obtain any arrest history under Recobo’s

name. See Report at 2.

       Erin Croft, a Special Agent with the United States Drug Enforcement Administration

(“DEA”), executed an affidavit relating Recobo’s alleged involvement in the underlying criminal

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activity. See Affidavit of Special Agent Erin Croft (executed November 14, 2011), filed November

14, 2011 (Doc. 2)(“Croft Aff.”). On November 13, 2011, a New Mexico state police officer

allegedly obtained 1.14 kilograms of methamphetamine from co-Defendant Efren Valencia-

Montoya’s vehicle. See Croft Aff. Following the arrest, Valencia-Montoya allegedly stated that

Recobo had asked him if he wanted to make some extra money, to which Valencia-Montoya agreed.

See Croft Aff. at 3. Valencia-Montoya allegedly said that he knew he was transporting controlled

substances but that he was not aware what controlled substances he was transporting. See Croft Aff.

at 3. Valencia-Montoya allegedly told officers that he would follow Recobo to an apartment

complex somewhere in central Phoenix, Arizona where Recobo would place “the heat sealed

packages” that ultimately contained methamphetamine “into the voids behind the [vehicle’s]

molding.” Croft Aff. at 3. Valencia-Montoya allegedly related that “he was supposed to drive the

controlled substances to Dodge City” where Recobo “lives and deliver them to” Recobo’s residence.

Croft Aff. at 3. State and federal agents then allegedly overheard and/or recorded several

conversations between Recobo and Valencia-Montoya that related to the transportation of the drugs

in Valencia-Montoya’s vehicle. See Croft Aff. at 3-4. Valencia-Montoya allegedly, presumably

pursuant to instructions from state and federal agents, told Recobo that his vehicle had broken down

in Santa Rosa, New Mexico. See Croft Aff. at 3-4. Officers allegedly observed Recobo and co-

Defendant Eulalio Suarez-Cabeza pull into a gas station where Valencia-Montoya’s vehicle was

located. See Croft. Aff. at 4. After the co-Defendants had allegedly taken some actions to remove

the drugs from Valencia-Montoya’s vehicle, the officers arrested Recobo and Suarez-Cabez. See

Croft Aff. at 4-5.

                               PROCEDURAL BACKGROUND

       On November 14, 2011, the United States filed a complaint charging Recobo: (i) with

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conspiracy to distribute 500 grams and more of a mixture and substance containing a detectable

amount of methamphetamine in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(A); and (ii) with

possession with intent to distribute 500 grams and more of a mixture and substance containing

methamphetamine in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(A). See Criminal Complaint at

1 (Doc. 2). Pretrial Services concluded that Recobo is a flight risk based on the following factors:

(i) his the lack of stable residence and mobile lifestyle; (ii) his use of other social security numbers:

(iii) his strong ties to Mexico; (iv) his frequent travel to Mexico; (v) his possible deportation if

convicted. See Report at 2. Pretrial Services found that Recobo is a danger to the community based

on the nature of his alleged offense. See Report at 2. On November 15, 2011, Judge Torgerson

issued his Detention Order, which concluded that Recobo was a flight risk. See Detention Order at

1-2. Recobo notes that, after the detention hearing conducted on November 15, 2011, his counsel

reserved the right to file a motion requesting reconsideration of his conditions of release. See

Motion at 1. Recobo never appealed the Detention Order. On December 1, 2011, the United States

filed an indictment charging Recobo: (i) in Count I with conspiracy to distribute 500 grams and

more of a mixture and substance containing a detectable amount of methamphetamine in violation

of 21 U.S.C. § 841(a)(1) and (b)(1)(A); and (ii) in Count II with possession with intent to distribute

500 grams and more of a mixture and substance containing methamphetamine in violation of 21

U.S.C. § 841(a)(1) and (b)(1)(A). See Indictment at 1-2 (Doc. 20).

        On March 22, 2012, Recobo filed his Motion seeking reconsideration of his pretrial

detention. See Doc. 40. He puts forth the following facts to support his pretrial release: (i) he is a

resident of the United States and is authorized to work; (ii) he lives in Kansas and has lived there

for almost twelve years; (iii) he has skills in a variety of fields and would have a position open for

him with Adalberto Pineda at Pineda Auto Repair in Dodge City upon his release, see Letter from

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Adalberto Pineda at 1 (dated March 12, 2012), filed March 22, 2012 (Doc. 40-1); (iv) he has three

children in Mexico for whom he is the sole source of support; (v) he is willing to report to Pretrial

Services in Kansas, and to comply with electronic monitoring and/or monitoring through a global

positioning satellite; (vi) he is willing to give up any permission he has to travel internationally and

to surrender his passport and/or travel documents; (vii) he is willing to restrict his travel to the area

between Kansas and New Mexico; and (viii) he would reside with an acquaintance in Dodge City

who owns and operates a daycare. See Motion at 1-2.

        On March 22, 2012, the United States filed its Response to Defendant’s Motion to

Reconsider Detention Order. See Doc. 41 (“Response”). The United States asserts that “there is

no new factual information not known to the defendant at the time he was first ordered detained that

would justify reopening the hearing under 18 U.S.C. § 3142(f).” Response at 1. It notes that “all

of the information listed in the Motion is personal and pertains directly to Defendant,” and thus “he

must surely have been aware of such at the original detention hearing.” Response at 1. The United

States then argues that, even if the evidence Recobo has put forward is new, the evidence does not

“overcome the statutory presumption that he is both a flight risk and a danger to the community.”

Response at 2. The United States notes that Recobo has significant ties to Mexico, which it asserts

would give him a stronger incentive to flee the country than many defendants. See Response at 2.

It contends that Recobo “is exactly the type of high-level drug dealer that gave rise to the

Congressional finding that defendant charged with serious drug crimes are presumed to be both

dangerous and flight risks.” Response at 2.

        At the hearing on March 28, 2012, Recobo reiterated that his children are having a hard time

in Mexico without his financial support. See Transcript of Hearing at 2:22-3:13 (taken March 28,



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2012)(Kennedy)(“Tr.”).1 He reiterated that he has no criminal history and is willing to surrender

his passport. See Tr. at 2:22-3:13 (Kennedy). He asserted that he is not a danger and that someone

was only trying to hand him drugs as opposed to him being in possession of them. See Tr. at 3:14-

19 (Kennedy). Recobo then spoke to emphasize his family’s financial hardships. See Tr. at 4:10-

5:5 (Recobo). Recobo clarified that there was no detention hearing in front of Judge Torgerson. See

Tr. at 5:13-15 (Court, Kennedy). The United States emphasized that a statutory presumption of

detention applies based on the charges against Recobo. See Tr. at 5:20-6:3 (Torrez). The Court

inquired whether the United States had argued that Recobo was a danger to the community given

that Judge Torgerson did not make that finding but found only that Recobo was a flight risk. See

Tr. at 6:21-25 (Court). The United States asserted that it generally takes the position that defendants

involved in the drug trafficking trade are dangerous. See Tr. at 7:1-14 (Torrez).

                        LAW REGARDING PRETRIAL DETENTION

       Pursuant to the Bail Reform Act of 1984, 18 U.S.C. §§ 3141 to 3150, a defendant may be

detained pending trial only after a hearing, held pursuant to 18 U.S.C. § 3142(f), and upon a finding

“that no condition or combination of conditions will reasonably assure the appearance of the person

as required and the safety of any other person and the community.” 18 U.S.C. § 3142(e). At such

a hearing, the United States bears the burden of proving risk of flight by a preponderance of the

evidence, and the burden of proving dangerousness by clear-and-convincing evidence. See 18

U.S.C. § 3142(f); United States v. Cisneros, 328 F.3d 610, 616 (10th Cir. 2003). “The rules

concerning the admissibility of evidence in criminal trials do not apply to the presentation and

consideration of information at the [detention] hearing.” 18 U.S.C. § 3142(f). To determine


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        The Court’s citations to the transcript of the hearing refer to the court reporter’s original,
unedited version. Any final transcript may contain slightly different page and/or line numbers.

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whether pretrial detention is warranted, the judicial officer must consider the statutory factors set

forth in 18 U.S.C. § 3142(g):

       (g)     Factors to be considered. -- The judicial officer shall, in determining
               whether there are conditions of release that will reasonably assure the
               appearance of the person as required and the safety of any other person and
               the community, take into account the available information concerning --

               (1)     the nature and circumstances of the offense charged, including
                       whether the offense is a crime of violence, a violation of section
                       1591, a Federal crime of terrorism, or involves a minor victim or a
                       controlled substance, firearm, explosive, or destructive device;

               (2)     the weight of the evidence against the person;

               (3)     the history and characteristics of the person, including --

                       (A)      the person’s character, physical and mental condition, family
                                ties, employment, financial resources, length of residence in
                                the community, community ties, past conduct, history relating
                                to drug or alcohol abuse, criminal history, and record
                                concerning appearance at court proceedings; and

                       (B)      whether, at the time of the current offense or arrest, the
                                person was on probation, on parole, or on other release
                                pending trial, sentencing, appeal, or completion of sentence
                                for an offense under Federal, State, or local law; and

               (4)     the nature and seriousness of the danger to any person or the
                       community that would be posed by the person’s release. In
                       considering the conditions of release described in subsection
                       (c)(1)(B)(xi) or (c)(1)(B)(xii) of this section, the judicial officer may
                       upon his own motion, or shall upon the motion of the Government,
                       conduct an inquiry into the source of the property to be designated for
                       potential forfeiture or offered as collateral to secure a bond, and shall
                       decline to accept the designation, or the use as collateral, of property
                       that, because of its source, will not reasonably assure the appearance
                       of the person as required.

18 U.S.C. § 3142(g).

        When a defendant is charged with certain crimes, however, a presumption can arise that the

defendant is a flight risk and a danger to the community. See 18 U.S.C. § 3142(e)(3); United States

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v.   Villapudua-Quintero,    308    F.App’x    272,   273    (10th   Cir.   2009)(unpublished)(per

curiam)(recognizing that 18 U.S.C. § 3142(e) establishes a rebuttable presumption favoring

detention in the case of, among other defendants, certain alleged drug offenders). 18 U.S.C.

§ 3142(e)(3)(A) provides that a presumption of detention arises when “there is probable cause to

believe that the person committed” certain drug offenses, specifically “an offense for which a

maximum term of imprisonment of ten years or more is prescribed in the Controlled Substances Act,

the Controlled Substances Import and Export Act, or chapter 705 of title 46.” 18 U.S.C.

§ 3142(e)(3)(A). The United States Court of Appeals for the Tenth Circuit has explained that “[t]he

grand jury indictment is sufficient to establish the finding of probable cause that defendant

committed a federal drug offense with a maximum prison term of ten years or more.” United States

v. Silva, 7 F.3d 1046, 1046 (10th Cir. 1993). Accord United States v. Holguin, 971 F.Supp.2d 1082,

1088 (D.N.M. 2011)(Browning, J.).

       To determine whether the defendant has rebutted the presumption of detention, a court must

consider: (i) the nature and circumstances of the crime charged; (ii) the weight of the evidence

against the defendant; (iii) the history and characteristics of the defendant, including family ties,

employment, financial resources, community ties, drug or alcohol abuse history, and past conduct;

and (iv) the nature and seriousness of the danger to the community or to an individual that would

be posed by release. See 18 U.S.C. § 3142(g). Should the defendant satisfy his or her burden of

production, the United States must then show by a preponderance of the evidence that the defendant

presents a risk of flight, or by clear-and-convincing evidence that the defendant presents a danger

to the community. See United States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001); United States

v. Stricklin, 932 F.2d 1353, 1354-55 (10th Cir. 1991)(“[T]he burden of persuasion regarding

risk-of-flight and danger to the community always remains with the government.”). Notably,

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however, even if the defendant meets her burden of production, “the presumption remains a factor

for consideration by the district court in determining whether to release or detain.” United States

v. Stricklin, 932 F.2d at 1355. Accord United States v. Mercedes, 254 F.3d at 436.

                                            ANALYSIS

       There is a presumption, based on the nature of the charges in the Indictment, that Recobo is

a flight risk, as well as a danger to the community and to others. In the face of that presumption,

Recobo has successfully met his burden of production to show that he is not a flight risk or danger

to the community. The Court concludes that the United States has established by a preponderance

of the evidence that Recobo is a flight risk. On the other hand, the Court concludes that the United

States has not met its burden to prove by clear-and-convincing evidence that Recobo presents a

danger to the community. The Court believes that there is no condition or combination of

restrictions that would reasonably assure his appearance.

I.     THERE IS A PRESUMPTION OF DETENTION.

       The charge that Recobo faces in Count 1, conspiracy to distribute 500 grams and more of

a mixture and substance containing methamphetamine in violation of 21 U.S.C. § 841(a)(1) and

(b)(1)(A), under the conspiracy statute contained in 21 U.S.C. § 846,2 trigger a presumption of

detention under 18 U.S.C. § 3142(e)(3)(A). See Indictment at 1-2. Recobo faces a minimum of ten-

years imprisonment from this charge based on the alleged amount of drugs, see 21 U.S.C.

§ 841(b)(1)(A) (“[S]uch person shall be sentenced to a term of imprisonment which may not be less

than 10 years or more than life . . . .”), and 18 U.S.C. § 3142(e)(3)(A) provides a presumption of



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        18 U.S.C. § 846 provides: “Any person who attempts or conspires to commit any offense
defined in this subchapter shall be subject to the same penalties as those prescribed for the offense,
the commission of which was the object of the attempt or conspiracy.” 18 U.S.C. § 846.

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detention for this drug offense when “a maximum term of imprisonment of ten years or more is

prescribed,” 18 U.S.C. § 3142(e)(3)(A). The grand jury’s probable cause determination is sufficient

to trigger a statutory presumption of detention. See United States v. Silva, 7 F.3d at 1046. Thus,

a presumption of detention applies.

II.    THE COURT CONCLUDES THAT RECOBO IS A FLIGHT RISK.

       The Court concludes that Recobo should be detained pending trial. The Court concludes that

Recobo has met his burden of production in the face of the statutory presumption favoring detention

on the issues of flight risk and dangerousness. See United States v. Stricklin, 932 F.2d at 1355

(“The defendant’s burden of production is not heavy, but some evidence must be produced.”).

While Recobo has met his burden of production in response to the presumption that he is a flight

risk given the restrictive conditions he has proposed as well as his ties to the United States, the

presumption of detention “remains a factor for consideration by the district court in determining

whether to release or detain.” United States v. Stricklin, 932 F.2d at 1355 (citation omitted). The

Court concludes that the United States has proved by a preponderance of the evidence that Recobo

is a flight risk. On the other hand, the Court concludes that the United States has not met its burden

to prove by clear-and-convincing evidence that Recobo presents a danger to the community.

       A.      RECOBO IS A FLIGHT RISK.

       The Court finds, by the preponderance of the evidence, that Recobo is a flight risk. He faces

charges that carry substantial sentences, including significant mandatory minimums, because he

allegedly transported approximately 1.14 kilograms of methamphetamine. Recobo also has

significant ties to Mexico, including various family members there, significant visits to Mexico, and

a long history of living in Mexico. While Recobo has significant ties to the Dodge City area, he is

not a citizen of the United States and would be deportable upon conviction -- thus giving him a

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greater incentive to flee. The statutory presumption that he is a flight risk also remains a factor for

the Court to consider even though Recobo has rebutted that presumption. Because of these

considerations, the Court finds by a preponderance of the evidence that Recobo is a flight risk.

               1.      The Nature and Circumstances of the Crimes Charged Demonstrate
                       Recobo Is a Flight Risk.

       The crimes with which Recobo is charged carry substantial penalties. For example, the

conspiracy charge he faces in Count 1 carries a statutory minimum of ten-years imprisonment and

a maximum sentence of life imprisonment. See 21 U.S.C. § 841(b)(1)(A) (“[S]uch person shall be

sentenced to a term of imprisonment which may not be less than 10 years or more than life . . . .”).

These drug charges are serious and carry some lengthy potential sentences. Based on the serious

nature of these charges, Recobo has additional incentive to flee the country or flee the State in which

he is under pretrial supervision. The Court concludes that this factor weighs in favor of detention.

               2.      The Weight of the United States’ Evidence Against Recobo Shows That
                       He Is a Flight Risk.

       The Croft Affidavit demonstrates that “the weight of the evidence offered in support of [the

charges against Recobo is] significant,” giving him many reasons to flee New Mexico, Kansas, or

the United States if he is released pending trial. United States v. Cisneros, 328 F.3d at 618. The

Croft Affidavit indicates that federal officers obtained a great deal of information about Recobo’s

alleged illegal conduct through one of his co-Defendants, Valencia-Montoya. Federal officers

allegedly recorded and/or overheard conversations between Valencia-Montoya and Recobo that

would implicate Recobo in drug trafficking. Federal officers allegedly observed Recobo arrive to

assist Valencia-Montoya and observed Recobo engage in conduct indicating that Recobo knew

narcotics were in Valencia-Montoya’s vehicle. The proffered evidence indicates that the United

States’ case against Recobo is relatively strong, making potential convictions and imprisonment a

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significant possibility for him. Thus, given the weight of the evidence against Recobo, this factor

weighs in favor of detention.

               3.      Recobo’s History and Circumstances Show He Is a Flight Risk.

       Recobo’s history and characteristics indicate that he has significant ties to Mexico and

significant incentive to flee back to Mexico, or at least flee Kansas to avoid detection. While

Recobo has established some ties to the Dodge City area, it does not appear that he has resided at

any location in Dodge City for a particularly long period of time. For instance, he told Pretrial

Services that he has been “staying with different friends at various locations in the Dodge City area

as he and his wife are separated.” Report at 1. Additionally, his most recent travel to Mexico was

two months before his interview with Pretrial Services. He acknowledged that he has made various

other trips to Mexico in recent years. He has three children there and an ex-wife whom he supports.

While Recobo has held a steady job in construction for several years, much of his income goes to

support his family back in Mexico. It also appears that he grew up in Mexico, including going to

high school there, which indicates that flight there would be a potentially viable option for him in

comparison to a defendant who had never lived in Mexico. See United States v. Armstrong, 397

F.App’x 466, 468 (10th Cir. 2010)(unpublished)(taking into account ties to Mexico when evaluating

risk of flight); United States v. Gonzalez, No. 12-0128, 2012 WL 843728, at *10 (D.N.M. Mar. 9,

2012)(Browning, J.)(“On the other hand, Gonzalez lived in Mexico for approximately sixteen years,

which indicates that flight there would be a potentially viable option for him in comparison to a

defendant who had never lived in Mexico”). Additionally, Recobo is not a United States citizen and

is instead a resident alien who would be deportable upon conviction. That situation decreases the

consequences to Recobo if he flees the country. Given his relatively frequent travels to Mexico, it

appears he has the financial resources to travel to Mexico if he chose to flee there. See United States

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v. Cisneros, 328 F.3d at 618 (noting that it is a relevant consideration that the defendant had “the

resources available to her to abscond to Mexico should she choose to do so”). Thus, this factor

weighs in favor of detention.

        In sum, the Court finds by a preponderance of the evidence that Recobo is a flight risk given

the serious penalties he faces, the strength of the United States’ case, and his ties to Mexico.

Additionally, while he successfully met his burden of production in the face of the presumption of

detention, the Court believes that presumption remains a relevant factor and that it weighs in favor

of detention. See, e.g., United States v. Moreno, 30 F.3d 127, 1994 WL 390091, at *2 (1st Cir.

1994)(unpublished table decision)(“The presumption reflects Congress’ findings that drug

traffickers often have the resources and foreign contacts to escape to other countries, as well as

strong incentives to continue in the drug trade.”). While the Court recognizes that Recobo wants

to be on pretrial release so he can support his family, the Court also has an obligation to keep

defendants in custody if they may become fugitives. A federal prosecution creates high stakes for

Recobo given the significant charges and potential sentence he faces. Looking at all of the

circumstances of Recobo’s case and personal life, the Court believes his personal circumstances

indicate he is a risk of flight.

        B.      THE UNITED STATES HAS NOT PROVED BY CLEAR-AND-
                CONVINCING EVIDENCE THAT RECOBO IS A DANGER TO THE
                COMMUNITY.

        Because the United States has shown probable cause supporting Recobo’s federal drug

charge, the statutory presumption that Recobo poses a danger to the community is triggered. The

only evidence or argument that Recobo offers that arguably meets his burden of production in the

face of the statutory presumption that the Court should detain him as a danger to the community is

his offer to live in a halfway house -- where his activities could be more easily monitored. An

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argument could be made that offering only conditions of release -- and no evidence of lack of

dangerousness -- is not enough to meet the burden of production. The presumption of detention,

however, creates a presumption “that no condition or combination of conditions will reasonably

assure the appearance of the person as required and the safety of the community.” 18 U.S.C.

§ 3143(e)(3). The presumption itself talks about conditions. Accordingly, the Court believes that

a defendant can meet his burden of production by merely offering appropriate conditions of release

that reduce his danger to a specific individual or to the public generally to acceptable levels. See

United States v. Stricklin, 932 F.2d at 1355 (“The defendant’s burden of production is not heavy,

but some evidence must be produced.”). Recobo has met his burden of production. The

presumption still remains a factor for the Court to consider, see United States v. Stricklin, 932 F.2d

at 1355. The Court recognizes that Recobo appears to take supporting his family seriously.

Additionally, Pretrial Services reports that they have found no arrest history for Recobo. It is true

that his alleged involvement in the transportation of 1.14 kilograms of methamphetamine indicates

that he may have significant involvement in drug trafficking. It is also true that drug trafficking

activities pose a danger to the community. See United States v. Pina-Aboite, 97 F.App’x 832, 836

(10th Cir. 2004)(unpublished)(citing United States v. Cook, 880 F.2d 1158, 1161 (10th Cir.

1989))(recognizing that the 18 U.S.C. § 3142 “danger-to-the-community factor is not simply about

physical violence; the risk that a defendant will continue to engage in drug trafficking constitutes

a danger to the community”). Nevertheless, if monitored in a halfway house and subject to various

conditions, including electronic monitoring and perhaps locked doors, the Court concludes that the

risk could be reduced to an acceptable level. It would be much more difficult for Recobo to engage

in drug trafficking activity if he was subject to strict monitoring in a halfway house. While some

danger is present, such as Recobo engaging in drug trafficking through the use of a telephone, the

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Court does not believe that, on the facts before it, it can reasonably find by clear-and-convincing

evidence “that no condition or combination of conditions will reasonably assure . . . the safety of

any other person and the community.” 18 U.S.C. § 3142(e). If Recobo had a longer track record

of drug trafficking activity, the Court would be more inclined to find that releasing him would pose

too great of a danger to the community. The Court, however, concludes that the United States has

not met its burden by clear-and-convincing evidence on the present record of showing that he is such

a danger that no conditions will reduce that danger to an acceptable level.

III.   THE COURT CONCLUDES IT CANNOT REDUCE RECOBO’S RISK OF
       NONAPPEARANCE TO AN ACCEPTABLE LEVEL EVEN WITH RESTRICTIVE
       CONDITIONS.

       Recobo has proposed some restrictive conditions that would help mitigate his risk of

nonappearance, including surrendering his passport and submitting to electronic monitoring. While

such conditions would -- to some extent -- mitigate his risk of nonappearance, the Court does not

believe that they do so to an acceptable level to reasonably assure his appearance. Recobo’s strong

ties and frequent travels to Mexico indicate that fleeing to Mexico would be a viable option for him.

It would also not be a particularly difficult task here in New Mexico. For example, even if he was

in a halfway house here in Albuquerque, the border between the United States and Mexico is only

a few hours away. He could potentially flee the country before law enforcement could respond. If

living with his proposed custodian in Kansas, on the other hand, he could potentially flee to some

other State in the country. Furthermore, as the United States Court of Appeals for the First Circuit

has recognized: “The presumption [of detention] reflects Congress’ findings that drug traffickers

often have the resources and foreign contacts to escape to other countries, as well as strong

incentives to continue in the drug trade.” United States v. Moreno, 1994 WL 390091, at *2. While

Recobo has no history of drug trafficking activity, the alleged amount of drugs involved in this case

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is significant and indicates that Recobo has some experience in the drug trafficking trade. Congress

has recognized that individuals in the drug trafficking trade are more likely than other defendants

to be capable of successfully fleeing the country. The United States also only has to prove by a

preponderance of the evidence that a defendant is a flight risk, as opposed to by clear-and-

convincing evidence. The Court concludes that the United States has met its burden here.

Consequently, the Court will order that Recobo be detained pending trial.

       IT IS ORDERED that the Defendant’s Motion Appealing Detention Order Pending Trial

and to Allow Reasonable Conditions of Release, filed March 22, 2012 (Doc. 40), is denied.




                                                             _______________________________
                                                             UNITED STATES DISTRICT JUDGE
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